         Case 1:19-cv-03224-RJL Document 19 Filed 11/04/19 Page 1 of 2




                           UNITED ST ATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CHARLES M. KOPPERMAN,                            )
                                                 )
              Plaintiff,                         )
                                                 )
         v.                                      ) Civil Case No. 19-3224 (RJL)
                                                 )
UNITED STATES HOUSE OF                           )
REPRESENTATIVES, et al.,                         )
                                                 )
              Defendants.                        )


                                         ORDER ('Z----
                                    November ~      ' 2019

      Upon further review of the transcript of the October 31, 2019 status conference

[Dkt. # 15] in this matter, and upon consideration of plaintiffs November 4, 2019 letter

to the Court [Dkt. # 18], it is hereby ORDERED that the briefing schedule in this case is

amended and clarified as follows.

          •   On or before November 14, 2019, defendants shall file any dispositive
              motions they intend to bring in this case. In support of their motions,
              defendants should raise all arguments-including both arguments relating
              to the justiciability of plaintiffs claims and· arguments relating to the merits
              of plaintiffs claims-that, they contend, provide a basis for resolving
              plaintiffs claims as a matter oflaw.

          •   On or before November 27, 2019, all parties shall file any briefs m
              opposition, whether relating to justiciability or the merits.

          •   On or before December 4, 2019, defendants may file reply briefs in support
              of the grounds for resolving plaintiffs claims that were raised in their
              opening briefs.
 Case 1:19-cv-03224-RJL Document 19 Filed 11/04/19 Page 2 of 2




  • At the December 10, 2019 hearing, the parties should be prepared to
    address all dispositive issues-whether relating to justiciability or the
    merits-on which they have a position.

SO ORDERED.




                                 2
